Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 1 of 68




                    EXHIBIT &
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 2 of 68




From:
Sent:
To:
Subject:

   ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                unknown senders or unexpected emails.
Sounds good does 11:30 am Tuesday work?
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222

EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN
From: Levine, Matthew (DFS) [mailto:Matthew.Levine@dfs.ny.gov]
Sent: Friday, October 06, 2017 9:32 AM
To: Eric Tirschwell
Subject: Re: Call
Good to hear from you
I'm in court today could we try Tuesday?
Cary gave me the materials for your group and I hope to review this weekend
Best

Sent from my iPhone

On Oct 6, 2017, at 9:11 AM, Eric Tirschwell <etirschwell@everytown.org> wrote:

          ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                          unknown senders or unexpected emails.
       Hey Matt, hope you are doing well, do you have 10 minutes for a quick call today? Thanks.

       --

       ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT
       POLICY
       ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222



       EVERYTOWN FOR GUN SAFETY
       EVERYTOWN.ORG | @EVERYTOWN




                                                      1
                Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 3 of 68




From:
Sent:
To:
Subject:                    Call


    ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                            senders or unexpected emails.
Hey Matt, hope you are doing well, do you have 10 minutes for a quick call today? Thanks.



E R I C TI R S C HW E LL | D I RE C TO R O F L I TI GA T IO N A N D N A TI ON A L E N FO RC E M E N T P OL I CY
E TI R S C HW E LL @E V E RY TO W N. OR G 64 6- 32 4- 82 22




EVERYTOWN FOR GUN S AFE TY
EVERYTOWN.ORG | @EVERYTOWN




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            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 4 of 68




From:
Sent:
To:
Subject:

     ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                   unknown senders or unexpected emails.
Some recent press.
http://www.npr.org/2017/10/05/555859571/nra-backed-gun-laws-have-found-success-in-state-legislatures-
across-the-u-s
(discussion of Carry Guard toward the end)
http://www.philly.com/philly/blogs/inq-phillydeals/gun-insurance-nra-chubb-sell-protection-for-shooters-
20171004.html
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222

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EVERYTOWN.ORG | @EVERYTOWN
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       EVERYTOWN FOR GUN SAFETY
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                                                      1
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 5 of 68
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 6 of 68




From:
Sent:
To:
Subject:

ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

Here now
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN

    Original Message
From: Levine, Matthew (DFS) [mailto:Matthew.Levine@dfs.ny.gov]
Sent: Tuesday, October 17, 2017 12:04 PM
To: Eric Tirschwell
Subject: RE: Call
For a minute, yes.

_______________________________________________________________________
Matthew L. Levine
Executive Deputy Superintendent Enforcement
New York State Department of Financial Services One State Street Plaza Executive Division, 19th Floor New York, NY
10004 1511
212 709 5461 matthew.levine@dfs.ny.gov
www.dfs.ny.gov

    Original Message
From: Eric Tirschwell [mailto:etirschwell@everytown.org]
Sent: Tuesday, October 17, 2017 11:56 AM
To: Levine, Matthew (DFS) <Matthew.Levine@dfs.ny.gov>
Subject: Re: Call
ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

Can we do 1210?
                                                           1
         Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 7 of 68


> On Oct 17, 2017, at 10:29 AM, Levine, Matthew (DFS)
<Matthew.Levine@dfs.ny.gov> wrote:
>
> Thanks
> Are you free for a short call at noon?
>
> Sent from my iPhone
>
>> On Oct 17, 2017, at 10:22 AM, Eric Tirschwell
<etirschwell@everytown.org> wrote:
>>
>> ATTENTION: This email came from an external source. Do not open
attachments or click on links from unknown senders or unexpected emails.
>>
>> FYI, see attached for latest solicitation from NRA.
>>
>> ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT
POLICY
>> ETIRSCHWELL@EVERYTOWN.ORG<mailto:CMOONEY@EVERYTOWN.ORG> 646 324 8222
>> ________________________________
>> EVERYTOWN FOR GUN SAFETY
>> EVERYTOWN.ORG<http://everytown.org/> | @EVERYTOWN
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>>
>>
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>>
>> ________________________________
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          Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 8 of 68

>>
>> EVERYTOWN FOR GUN SAFETY
>> EVERYTOWN.ORG<http://everytown.org/> | @EVERYTOWN <scan.pdf.secure>




                                                  3
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 9 of 68




From:
Sent:
To:
Subject:

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Can we do 1210?
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                                                         1
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 10 of 68

>> Hey Matt, hope you are doing well, do you have 10 minutes for a quick call today? Thanks.
>>
>>
>>
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>> ETIRSCHWELL@EVERYTOWN.ORG<mailto:CMOONEY@EVERYTOWN.ORG> 646 324 8222
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>> ________________________________
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                                                           2
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 11 of 68




From:
Sent:
To:
Subject:

ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

You can call my number below.
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
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                                                         1
         Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 12 of 68

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> ________________________________
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> EVERYTOWN.ORG<http://everytown.org/> | @EVERYTOWN <scan.pdf.secure>




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            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 13 of 68




From:
Sent:
To:
Subject:

ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

Yep
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN

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         Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 14 of 68

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                                              2
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 15 of 68




From:
Sent:
To:
Subject:
Attachments:      scan.pdf




   ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                       unknown senders or unexpected emails.
FYI, see attached for latest solicitation from NRA.
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 16 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 17 of 68
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 18 of 68




From:
Sent:
To:
Subject:

For a minute, yes.

_______________________________________________________________________
Matthew L. Levine
Executive Deputy Superintendent Enforcement
New York State Department of Financial Services One State Street Plaza Executive Division, 19th Floor New York, NY
10004 1511
212 709 5461 matthew.levine@dfs.ny.gov
www.dfs.ny.gov

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>> FYI, see attached for latest solicitation from NRA.
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>> ETIRSCHWELL@EVERYTOWN.ORG<mailto:CMOONEY@EVERYTOWN.ORG> 646 324 8222
>> ________________________________
>> EVERYTOWN FOR GUN SAFETY
                                                           1
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 19 of 68

>> EVERYTOWN.ORG<http://everytown.org/> | @EVERYTOWN
>>
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>> Sent: Friday, October 06, 2017 9:32 AM
>> To: Eric Tirschwell
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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 20 of 68
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 21 of 68




From:
Sent:
To:
Subject:

ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

http://www.nydailynews.com/news/national/ad blast nra murder insurance peo
ple shoot article 1.3574483
http://abcnews.go.com/US/wireStory/murder insurance protection defense cas
es 50581815


ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
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    Original Message
From: Levine, Matthew (DFS) [mailto:Matthew.Levine@dfs.ny.gov]
Sent: Thursday, October 19, 2017 4:44 PM
To: Eric Tirschwell
Subject: Re: Call
The link doesn't exist
Possible to PDF to me?
Sent from my iPhone
> On Oct 19, 2017, at 4:13 PM, Eric Tirschwell <etirschwell@everytown.org>
wrote:
>
> ATTENTION: This email came from an external source. Do not open
attachments or click on links from unknown senders or unexpected emails.
>
>
> FYI.
>
>
http://www.sfchronicle.com/news/crime/article/Murder insurance or protecti
> on in self defense 12289886.php

                                                         1
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 22 of 68




From:
Sent:
To:
Subject:

   ATTENTION: This email came from an external source. Do not open attachments or click on links from
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Yep want to call my desk # below?
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222

EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN
From: Levine, Matthew (DFS) [mailto:Matthew.Levine@dfs.ny.gov]
Sent: Thursday, October 19, 2017 5:24 PM
To: Eric Tirschwell
Subject: Re: Call
Got a second to discuss?

From: Eric Tirschwell <etirschwell@everytown.org>
Sent: Thursday, October 19, 2017 4:46:37 PM
To: Levine, Matthew (DFS)
Subject: RE: Call
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http://www.nydailynews.com/news/national/ad-blast-nra-murder-insurance-peo
ple-shoot-article-1.3574483

http://abcnews.go.com/US/wireStory/murder-insurance-protection-defense-cas
es-50581815



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EVERYTOWN FOR GUN SAFETY
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Sent: Thursday, October 19, 2017 4:44 PM
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The link doesn't exist
Possible to PDF to me?

Sent from my iPhone
                                                               1
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 23 of 68

> On Oct 19, 2017, at 4:13 PM, Eric Tirschwell <etirschwell@everytown.org>
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>
>
> FYI.
>
>
http://www.sfchronicle.com/news/crime/article/Murder-insurance-or-protecti
> on-in-self-defense-12289886.php




                                                               2
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 24 of 68




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Sent:
To:
Subject:

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http://www.nydailynews.com/news/national/ad blast nra murder insurance peo
ple shoot article 1.3574483
http://abcnews.go.com/US/wireStory/murder insurance protection defense cas
es 50581815


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attachments or click on links from unknown senders or unexpected emails.
>
>
> FYI.
>
>
http://www.sfchronicle.com/news/crime/article/Murder insurance or protecti
> on in self defense 12289886.php                              1
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 25 of 68




From:
Sent:
To:
Subject:

The link doesn't exist
Possible to PDF to me?
Sent from my iPhone
> On Oct 19, 2017, at 4:13 PM, Eric Tirschwell <etirschwell@everytown.org> wrote:
>
> ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
senders or unexpected emails.
>
>
> FYI.
>
> http://www.sfchronicle.com/news/crime/article/Murder insurance or protecti
> on in self defense 12289886.php




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           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 26 of 68




From:
Sent:
To:
Subject:

ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders
or unexpected emails.

FYI.
http://www.sfchronicle.com/news/crime/article/Murder insurance or protecti
on in self defense 12289886.php




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 27 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 28 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 29 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 30 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 31 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 32 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 33 of 68
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 34 of 68




From:
Sent:
To:
Subject:

    ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                          senders or unexpected emails.
Matt, here are some additional materials.
And the citation is:
https://scholar.google.com/scholar_case?case=8027532124808667217&q=838+p.2d+680&hl=en&as_sdt=6,33
(National Federation of Retired Persons v. Insurance Commissioner, 120 Wn.2d 101 (1992)).




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 35 of 68




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 36 of 68




                                  3
          Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 37 of 68




More photos from here:
http://www.thetruthaboutguns.com/2017/04/daniel zimmerman/nra goes big carry guard insurance program/




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 38 of 68




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 39 of 68




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               Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 40 of 68




From:
Sent:
To:
Subject:

    ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                             senders or unexpected emails.
Hey Matt, good to see you the other night, you were going to send me contact info I could share, thanks.
Eric



E R I C TI R S C HW E LL | D I RE C TO R O F L I TI GA T IO N A N D N A TI ON A L E N FO RC E M E N T P OL I CY
E TI R S C HW E LL @E V E RY TO W N. OR G 64 6- 32 4- 82 22




EVERYTOWN FOR GUN S AFE TY
EVERYTOWN.ORG | @EVERYTOWN




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           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 41 of 68




From:
Sent:
To:
Cc:
Subject:

    ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                              senders or unexpected emails.
Thanks, Hadas is there a direct dial for you?
On Feb 12, 2018, at 6:29 AM, Levine, Matthew (DFS) <Matthew.Levine@dfs.ny.gov> wrote:
       Good to see you too
       I'm connecting you with HadasJacobi who is handling this matter
       Please provide her information to the Mass regulator
       Thanks
       Sent from my iPhone
       On Feb 12, 2018, at 8:28 AM, Eric Tirschwell <etirschwell@everytown.org> wrote:

                    ATTENTION: This email came from an external source. Do not open attachments or click on links from unkno
                                                            senders or unexpected emails.
               Hey Matt, good to see you the other night, you were going to send me contact info I
               could share, thanks.
               Eric



               E R I C TI R S C HW E LL | D I RE C TO R O F L I TI GA T IO N A N D N A TI ON A L E N FO RC E M E N T P OL I CY
               E TI R S C HW E LL @E V E RY TO W N. OR G 64 6- 32 4- 82 22




               EVERYTOWN FOR GUN S AFE TY
               EVERYTOWN.ORG | @EVERYTOWN




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 42 of 68
            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 43 of 68




From:
Sent:
To:
Subject:
Attachments:         scan.pdf




    ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                unknown senders or unexpected emails.
Attached is a recent article from Carry Guard Magazine that might be of interest.
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN
From: Jacobi, Hadas (DFS) [mailto:Hadas.Jacobi@dfs.ny.gov]
Sent: Thursday, February 15, 2018 9:55 AM
To: Eric Tirschwell
Subject: RE: Contact info/confidential
Eric,
My apologies for the delayed response – I’ve been out of the office with the flu the past week. My direct number is (212)
709 1662.
Thank you,
Hadas
Hadas A. Jacobi
Assistant Deputy Superintendent for Enforcement
New York State Department of Financial Services
One State Street Plaza
Executive Division, 19th Floor
New York, NY 10004 1511
(212) 709 1662 | hadas.jacobi@dfs.ny.gov
www.dfs.ny.gov
From: Eric Tirschwell [mailto:etirschwell@everytown.org]
Sent: Monday, February 12, 2018 10:15 AM
To: Levine, Matthew (DFS) <Matthew.Levine@dfs.ny.gov>
Cc: Jacobi, Hadas (DFS) <Hadas.Jacobi@dfs.ny.gov>; Prendergast, Megan B (DFS) <Megan.Prendergast@dfs.ny.gov>
Subject: Re: Contact info/confidential
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        Thanks                                                1
   Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 44 of 68


Sent from my iPhone
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       Eric


       ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL
       ENFORCEMENT POLICY
       ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222



       EVERYTOWN FOR GUN SAFETY
       EVERYTOWN.ORG | @EVERYTOWN




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            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 45 of 68




From:
Sent:
To:
Subject:

    ATTENTION: This email came from an external source. Do not open attachments or click on links from
                                unknown senders or unexpected emails.
Thank you.
ERIC TIRSCHWELL | DIRECTOR OF LITIGATION AND NATIONAL ENFORCEMENT POLICY
ETIRSCHWELL@EVERYTOWN.ORG 646 324 8222
EVERYTOWN FOR GUN SAFETY
EVERYTOWN.ORG | @EVERYTOWN
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(212) 709 1662 | hadas.jacobi@dfs.ny.gov
www.dfs.ny.gov
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   Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 46 of 68


Sent from my iPhone
On Feb 12, 2018, at 8:28 AM, Eric Tirschwell <etirschwell@everytown.org> wrote:

            ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown sender
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       ETIRSCHWELL@EVERYTOWN.ORG 646-324-8222



       EVERYTOWN FOR GUN SAFETY
       EVERYTOWN.ORG | @EVERYTOWN




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 47 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 48 of 68
               Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 49 of 68




From:
Sent:
To:
Subject:

Thank you!

From: Eric Tirschwell [mailto:etirschwell@everytown.org]
Sent: Thursday, February 15, 2018 6:03 PM
To: Jacobi, Hadas (DFS) <Hadas.Jacobi@dfs.ny.gov>
Subject: RE: Contact info/confidential
        ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown senders or
                                                        unexpected emails.
Attached is a recent article from Carry Guard Magazine that might be of interest.
E R I C TI R S C HW E LL | D I RE C TO R O F L I TI GA T IO N A N D N A TI ON A L E N FO RC E M E N T P OL I CY
E TI R S C HW E LL @E V E RY TO W N. OR G 64 6- 32 4- 82 22

EVERYTOWN FOR GUN S AFE TY
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Eric,
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709 1662.
Thank you,
Hadas

Hadas A. Jacobi
Assistant Deputy Superintendent for Enforcement

New York State Department of Financial Services
One State Street Plaza
Executive Division, 19th Floor
New York, NY 10004-1511
(212) 709-1662 | hadas.jacobi@dfs.ny.gov

www.dfs.ny.gov




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            Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 50 of 68

From: Eric Tirschwell [mailto:etirschwell@everytown.org]
Sent: Monday, February 12, 2018 10:15 AM
To: Levine, Matthew (DFS) <Matthew.Levine@dfs.ny.gov>
Cc: Jacobi, Hadas (DFS) <Hadas.Jacobi@dfs.ny.gov>; Prendergast, Megan B (DFS) <Megan.Prendergast@dfs.ny.gov>
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                Eric



                E R I C TI R S C HW E LL | D I RE C TO R O F L I TI GA T IO N A N D N A TI ON A L E N FO RC E M E N T P OL I CY
                E TI R S C HW E LL @E V E RY TO W N. OR G 64 6- 32 4- 82 22




                EVERYTOWN FOR GUN S AFE TY
                EVERYTOWN.ORG | @EVERYTOWN




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Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 51 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 52 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 53 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 54 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 55 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 56 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 57 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 58 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 59 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 60 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 61 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 62 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 63 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 64 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 65 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 66 of 68
Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 67 of 68
           Case 1:18-cv-00566-TJM-CFH Document 176-5 Filed 02/28/20 Page 68 of 68




From:
Sent:
To:
Subject:




_______________________________________________________________________
Matthew L. Levine
Executive Deputy Superintendent -- Enforcement

New York State Department of Financial Services
One State Street Plaza
Executive Division, 19th Floor
New York, NY 10004-1511
212-709-5461 matthew.levine@dfs.ny.gov

www.dfs.ny.gov




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